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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION

Frank A. and Shelly Palombaro, Jr., et : Case No. l:l$-cv-792
al., :

Plaimirfs, § Judge susan J. Dlou

V. .
Order

Emery Federal Credit Union,

Defendant.

This matter is before the Court on Plaintiffs’ Motion for Preliminary Approval of
Settlement of All Claims Asserted Against Emery Federal Credit Union. (Doc. 341 .) The matter
has been set for a hearing on January 4, 2018. In addition to being prepared to discuss the
Motion as a whole, the Court directs the parties to prepare to address the following topics at the
hearing:

l. Please explain the proposed changes to the class definition Are Plaintiffs requesting that
the Court modify the existing class under Rule 23(0)(1)(0) or certify a new class for
settlement purposes only under Rule 23(e)?l Under either approach, how is the Rule
23(a)-(b) analysis met? What class members will be excluded under the proposed

modified class definition?

2. What is the expected range of recovery ii'om a best and a worst case scenario, and how

does the proposed settlement figure oompare?

3. Please address the Defendant’s ability to pay the proposed settlement.

 

’ The Motion uses language indicating Plaintiffs request modiiication to the class definition,
whereas the proposed Notice and Order use language to the effect of certifying a settlement
class.

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4. What is the cost of the designated Settlement Administrator?

IT IS SO ORDERED.

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/Judgc Susan J. Dl t
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